                                                       UNITED STATES BANKRUPTCY COURT
                                                       WESTERN DISTRICT OF WASHINGTON

 In re:                                                                      Case No. 19-11386
 Sharon Lee Wyndon
                                                                             CHAPTER 13 PLAN

                                                                              X Original                  AMENDED

                                      Debtor(s).                             Date:    April 30, 2019



I.          Disclosure of Nonstandard Provisions and Plan's Modification of Secured Debt:

           A. Does this plan contain any nonstandard provisions (check one)?
                Yes
             X No
          B. Does this plan limit the amount of a secured claim based on a valuation of the collateral for the claim
          (check one)?
                Yes
             X No
          C. Does this plan avoid a security interest or lien (check one)?
                Yes
             X No
If the Debtor has either not indicated “yes” in the applicable section above or made no selection, any nonstandard provision or
language in this plan purporting to limit the amount of a secured claim based on a valuation of the collateral or to avoid a security
interest or lien is void. Even if the Debtor indicated “no” in Section 1.B or Section 1.C, the Debtor may seek to limit the amount of a
secured claim based on a valuation of the collateral for the claim or avoid a security interest or lien through a motion or an adversary
proceeding.


II.         Means Test Result and Plan Duration:
            Debtor is (check one):
            X        a below median income debtor with a 36 month applicable commitment period
                     an above median income debtor with a 60 month applicable commitment period

The plan’s length shall not be less than the Debtor’s applicable commitment period unless the plan either provides for payment in full
of allowed unsecured claims over a shorter period or is modified post-confirmation. If the Debtor is below median income, then the
plan’s length shall automatically be extended up to 60 months after the first payment is due if necessary to complete the plan


1II.       Plan Payments to the Trustee:
       No later than 30 days after the order for relief, the Debtor shall commence making payments to the Trustee as follows:
           A.        AMOUNT: $1,950.00
           B.        FREQUENCY (check one):
              X Monthly
                  Twice per month
                  Every two weeks
                  Weekly
           C.        TAX REFUNDS: The Debtor (check one):
                        commits all tax refunds to funding the plan. Committed refunds shall be paid in addition to the plan payment
                     amount stated above.
                      X does not commit; all tax refunds to funding the plan. If no selection is made, tax refunds are committed.
           D.        PAYMENTS: Plan payments shall be deducted from the Debtor's wages unless otherwise agreed to by the Trustee
                     or ordered by the Court.
           E.        OTHER:

IV. Distribution of Plan Payments by the Trustee:
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      Upon confirmation of the plan, the Trustee shall disburse funds received in the following order and creditors shall apply them
      accordingly, provided that disbursements for domestic support obligations and federal taxes shall be applied according to
      applicable non-bankruptcy law:
          A.        ADMINISTRATIVE EXPENSES:
                    1. Trustee. The percentage set pursuant to 28 USC §586(e).
                    2. Other administrative expenses. As allowed pursuant to 11 USC §§ 507(a)(2) or 707(b).
                    3. The Debtor's Attorney's Fees: Pre-confirmation attorney's fees and/or costs and expenses are estimated to be
                    $ 3,500.00 . $ 500.00 was paid prior to filing.
                    Approved attorney compensation shall be paid as follows (check one):
             a. Prior to all creditors
             b. Monthly payments of $
             c. X All remaining funds available after designated monthly payments to the following creditors: Wells Fargo Home
             Mortgage .
             d. Other: .
             If no selection is made, approved compensation will be paid after the monthly payments specified in Sections IV.B and
             IV.C.

            B.          CURRENT DOMESTIC SUPPORT OBLIGATIONS:
                        Creditor                      Monthly amount
                        -NONE-                        $

            C.          SECURED CLAIMS: Only creditors holding allowed secured claims specified below or provided in Section X will
                        receive payment from the Trustee. Unless ranked otherwise, payments to secured creditors will be disbursed at the
                        same level. Secured creditors shall retain their liens until the earlier of payment of the underlying debt, determined
                        under nonbankruptcy law, or discharge under 11 U.S.C. § 1328. Secured creditors shall not assess any late charges,
                        provided payments from the plan to the secured creditor are current, subject to the creditor’s rights under state law if
                        the case is dismissed.

                        The interest rates in the plan control except that (a) a lower interest rate included in a creditor’s proof of claim shall
                        control; and (b) the interest rate included in a creditor’s proof of claim for a claim secured by a mortgage or deed of
                        trust on real property shall control, unless otherwise provided in Section X or ordered following an objection to a
                        proof of claim or in an adversary proceeding. If the interest rate is left blank, the interest rate shall be 12% except
                        that the interest rate for arrearages on claims secured by a mortgage or deed of trust on real property shall be 0%.

                        For claims secured by personal property, the monthly payment amounts in the plan control.

                        For claims secured by real property, the monthly payment amounts in the creditor’s proof of claim and notice of
                        payment change control unless otherwise provided in Section X.

                        If overall plan payments are sufficient, the Trustee may increase or decrease post-petition installments for ongoing
                        mortgage payments, homeowner’s dues and/or real property tax holding accounts based on changes in interest rates,
                        escrow amounts, dues and/or property taxes.

                                 1.      Payments on Claims, or Non-Escrowed Postpetition Property Tax Holding Accounts, Secured
                        Only by Security Interest in the Debtor’s Principal Residence (Interest included in payments at contract rate, if
                        applicable):

Ongoing Payments:
Rank      Monthly Payment                                       Creditor                     Collateral
                                                                                             26921 40th Ave S Kent, WA 98032 King County
 1          $                                  1,541.00         Wells Fargo Hm Mortgage      www.zillow.com

Cure Payments:
                        Monthly                                                                                   Arrears to be    Interest
 Rank                   Payment            Creditor                            Collateral                               Cured      Rate
                                                                               26921 40th Ave S Kent, WA
                                                                               98032 King County
 1               $          244.00         Wells Fargo Hm Mortgage             www.zillow.com                 $      14,630.00               0.00 %



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                                  2.       Payments on Claims, or Non-Escrowed Postpetition Property Tax Holding Accounts, Secured by
                          Real Property Other than the Debtor’s Principal Residence:


Ongoing Payments:

                                                                                                                                    Interest
 Rank             Monthly Payment                     Creditor                     Collateral                                       Rate
            $                        -NONE-                                                                                                        %

Cure Payments:
                          Monthly                                                                                 Arrears to be   Interest
 Rank                     Payment          Creditor                              Collateral                             Cured     Rate
                  $                        -NONE-                                                             $                                    %

                                     3.          Payments on Claims Secured by Personal Property:

                                    a. 910 Collateral.
The Trustee shall pay the contract balance stated in the allowed proof of claim for a purchase-money security
interest in any motor vehicle acquired for the personal use of the Debtor within 910 days preceding the filing date of the petition or in
other personal property acquired within one year preceding the filing date of the petition as specified below. The Debtor stipulates that
pre-confirmation adequate protection payments shall be paid by the Trustee in the amounts stated as the “Pre-Confirmation Adequate
Protection Monthly Payment” or, if blank, in the amounts stated as the “Monthly Payment” as specified below after the creditor files a
proof of claim.

                                                                                                          Pre-Confirmation
                          Monthly                                                                         Adequate Protection     Interest
 Rank                     Payment          Creditor                           Collateral                  Monthly Payment         Rate
                  $                        -NONE-                                                         $                                        %


                                      b. Non-910 Collateral.
The Trustee shall pay the value of collateral stated in the proof of claim, unless otherwise provided in Section X or ordered following
a timely objection to a proof of claim or in an adversary proceeding, for a security interest in personal property which is non-910
collateral. The Debtor stipulates that pre-confirmation adequate protection payments shall be paid by the Trustee in the amounts stated
as the “Pre-Confirmation Adequate Protection Monthly Payment” or, if blank, in the amounts stated as the “Monthly Payment” as
specified below after the creditor files a proof of claim.

                                                                          Debtor's                            Pre-Confirmation
                          Monthly                                         Value of                          Adequate Protection     Interest
 Rank                     Payment          Creditor                      Collateral        Collateral         Monthly Payment       Rate
                  $                        -NONE-                    $                                      $                                      %


            D.       PRIORITY CLAIMS: Payment in full, on a pro rata basis, of filed and allowed claims entitled to priority in the
            order stated in 11 U.S.C. § 507(a).

            E.       NONPRIORITY UNSECURED CLAIMS: No funds shall be paid to nonpriority unsecured creditors until all
            secured, administrative and priority unsecured creditors are paid in full, provided that no claim shall be paid before it is due.
            The Trustee shall pay filed and allowed nonpriority unsecured claims as follows (check one):

                      100%
              X        At least $ 0.00 .

            The Trustee shall pay the following specially classified nonpriority unsecured claims prior to other nonpriority unsecured
            claims:

 Rank           Creditor                                    Amount of Claim       Percentage to be Paid   Reason for Special Classification
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 Rank          Creditor                                     Amount of Claim      Percentage to be Paid       Reason for Special Classification
               -NONE-                                       $                                            %

V.        Direct Payments to be made by the Debtor and not by the Trustee:
The following claims shall be paid directly by the Debtor according to the terms of the contract or support or withholding order, and
shall receive no payments from the Trustee. (Payment stated shall not bind any party.)

            A. DIRECT PAYMENT OF DOMESTIC SUPPORT OBLIGATIONS:

 Creditor                                                            Current Monthly Support Obligation             Monthly Arrearage Payment
 -NONE-                                                              $                                              $

            B.          OTHER DIRECT PAYMENTS:

 Creditor                                                Nature of Debt                            Amount of Claim             Monthly Payment
 -NONE-                                                                                            $                           $

VI.      Secured Property Surrendered:
The secured property described below will be surrendered to the following named creditors on confirmation.
The Debtor requests that upon confirmation, each creditor (including successors and assigns) to which the Debtor is surrendering
property pursuant to this section be granted relief from the stays of 11 U.S.C. §§ 362(a) and 1301(a) to enforce its security interest
against the property including taking possession and sale.

 Creditor                                                                             Property to be Surrendered
 -NONE-

VII.      Executory Contracts and Leases:
The Debtor will assume or reject executory contracts or unexpired leases as specified below. Assumption will be by separate motion
and order, and any cure and/or continuing payments will be paid directly by the Debtor under Section V, unless otherwise specified in
the plan. Any executory contract or unexpired lease not assumed pursuant to 11 U.S.C § 365(d) is rejected. If rejected, upon
confirmation the creditor is granted relief from the stays of 11 U.S.C. §§ 362(a) and 1301(a) with respect to the property which is the
subject of the rejected contract or lease, and any allowed unsecured claim for damages shall be paid under Section IV.E.

 Contract/Lease                                                                       Assumed or Rejected
 -NONE-

VIII. Property of the Estate:
Property of the estate is defined in 11 U.S.C. § 1306(a). Unless otherwise ordered by the Court, property of the estate in possession of
the Debtor on the petition date shall vest in the Debtor upon confirmation. However, the Debtor shall not lease, sell, encumber,
transfer or otherwise dispose of any interest in real property or personal property without the Court’s prior approval, except that the
Debtor may dispose of unencumbered personal property with a value of $10,000 or less without the Court’s approval. Property
(including, but not limited to, bonuses, inheritances, tax refunds or any claim) acquired by the Debtor post-petition shall vest in the
Trustee and be property of the estate. The Debtor shall promptly notify the Trustee if the Debtor becomes entitled to receive a
distribution of money or other property (including, but not limited to, bonuses, inheritances, tax refunds or any claim) with a value in
excess of $2,500, unless Section X specifically provides for the Debtor to retain the money or property.


IX.         Liquidation Analysis Pursuant to 11 USC § 1325(a)(4)
            The liquidation value of the estate is $ 0.00 . To obtain a discharge, the Debtor must pay the liquidation value or the total of
            allowed priority and nonpriority unsecured claims, whichever is less. Under 11 U.S.C. §§ 1325(a)(4) and 726(a)(5), interest
            on allowed unsecured claims under Section IV.D and IV.E shall be paid at the rate of      % per annum from the petition date
            (no interest shall be paid if left blank).

X.          Nonstandard Provisions:

All nonstandard provisions of this plan are set forth in this section and separately numbered. Any nonstandard provision placed
elsewhere in this plan is void. Any modifications or omissions to the form plan not set forth in this section are void.



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By filing this plan, the attorney for the Debtor(s) or the Debtor(s) if not represented by an attorney certify that the wording and order
of the provisions in this plan are identical to those contained in Local Bankruptcy Form 13-4, other than any nonstandard provisions
included in Section X.
                                                             (Signature Page)


 /s/ Jonathan S Smith                                 /s/ Sharon Lee Wyndon                                                April 30, 2019
 Jonathan S Smith 27372                               Sharon Lee Wyndon                                                                Date
 Attorney for Debtor(s)                               DEBTOR

 April 30, 2019
 Date                                                 DEBTOR                                                                           Date




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